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                                 UNPUBLISHED

                      UNITED STATES COURT OF APPEALS
                          FOR THE FOURTH CIRCUIT


                                 No. 14-2366


 GEORGE RISHELL, on his own behalf and on behalf of those
 similarly situated,

                   Plaintiff - Appellee,

             and

 VICTORIA RHODES; QUINTON GARDNER; SELINA RIGGS; DONELL ELLIS;
 KWAN JOHNSON,

                   Plaintiffs,

             v.

 COMPUTER SCIENCES CORPORATION, a Foreign Profit Corporation,

                   Defendant - Appellant.



                                 No. 14-2376


 VICTORIA RHODES; QUINTON GARDNER; SELINA RIGGS; DONELL ELLIS;
 KWAN JOHNSON,

                   Plaintiffs - Appellees,

             v.

 COMPUTER SCIENCES CORPORATION,

                   Defendant - Appellant.
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 Appeals from the United States District Court for the Eastern
 District of Virginia, at Alexandria.   Claude M. Hilton, Senior
 District Judge. (1:13-cv-00931-CMH-TCB; 1:14-cv-00213-CMH-TCB)


 Argued:    January 27, 2016                        Decided:    May 2, 2016


 Before DUNCAN and DIAZ, Circuit Judges, and Loretta C. BIGGS,
 United States District Judge for the Middle District of North
 Carolina, sitting by designation.


 Affirmed by unpublished per curiam opinion.


 ARGUED: Catherine Emily Stetson, HOGAN LOVELLS US LLP, Washington,
 D.C., for Appellant. Angeli Murthy, MORGAN & MORGAN, Plantation,
 Florida; Mike Farrell, MIKE FARRELL, PLLC, Jackson, Mississippi,
 for Appellees.   ON BRIEF: Thomas J. Woodford, Mobile, Alabama,
 Samuel Zurik, III, Robert P. Lombardi, THE KULLMAN FIRM, New
 Orleans, Louisiana, for Appellant.         Thomas Farrell Egge,
 Alexandria, Virginia, for Appellees Victoria Rhodes, Quinton
 Gardner, Selina Riggs, Donell Ellis and Kwan Johnson.


 Unpublished opinions are not binding precedent in this circuit.




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 PER CURIAM:

        This consolidated appeal arises from two independent actions,

 each   involving    a   contract   dispute     between   employer,     Computer

 Science Corporation (“CSC”), and certain employees.             The employees

 of CSC brought suit, claiming that when working overseas, they

 were entitled to hourly wages for every hour worked, rather than

 the fixed salaries they were paid by CSC.                Both actions, which

 originated in different jurisdictions, were transferred to the

 U.S. District Court for the Eastern District of Virginia.                  The

 district court granted summary judgment in favor of the employees

 in each case.      For the reasons that follow, we affirm.

                                        I.

        The employees involved in this appeal are George Rishell

 (“Rishell”) in one action, and in the second action Victoria

 Rhodes, Quinton Gardner, Selina Riggs, Donell Ellis, and Kwan

 Johnson (collectively, “Rhodes Appellees”). At the time of hiring,

 each employee signed an Offer Letter and a Foreign Travel Letter

 provided    by   CSC.      Rishell’s        Offer   Letter   states,   “[Y]our

 compensation will consist of an hourly rate of $32.93 ($68,500

 annually), which will be paid biweekly.”               J.A. 246.     The Offer

 Letter of each of the Rhodes Appellees contains an identical

 statement, but with a different hourly rate and no mention of an

 annual amount:      “[Y]our compensation will consist of an hourly



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 rate of $31.25, which will be paid biweekly.” 1          J.A. 844, 866, 878,

 902, 916.    The Foreign Travel Letter details the compensation and

 benefits     that    each    respective     employee   will   receive    while

 overseas.      The   section    of    the   letter   outlining    compensation

 discusses categories of pay to include base pay, pay differentials,

 hardship pay, and danger pay.         With respect to base pay, the letter

 states, “Your base weekly salary will not change as a result of

 this assignment.”      J.A. 105, 848, 870, 882, 906, 920.

       After joining CSC, Rishell and the Rhodes Appellees were each

 assigned to work overseas.            While overseas, they each regularly

 worked 84-hour weeks but received fixed pay for only 40 hours each

 week.     Claiming they were entitled to hourly wages for every hour

 worked under their respective Offer Letter and Foreign Travel

 Letter, Rishell and the Rhodes Appellees filed suit.                On cross-

 motions for summary judgment in each case, the district court

 concluded    that    the    letters   unambiguously    provided    for   hourly

 wages, rather than fixed salaries, and granted summary judgment in

 favor of Rishell in his case and each of the Rhodes Appellees in

 their case.    This appeal followed.




       1$31.25 was the hourly rate for Rhodes and Ellis. Gardner
 and Riggs were offered $31.49, and Johnson was offered $32.69.

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                                     II.

       We review a district court’s award of summary judgment de

 novo, applying the same legal standards as the district court.

 Calderon v. GEICO Gen. Ins. Co., 809 F.3d 111, 120 (4th Cir. 2015).

 Summary judgment is appropriate when “there is no genuine dispute

 as to any material fact and the movant is entitled to judgment as

 a matter of law.”       Fed. R. Civ. P. 56(a).         In this case, the

 parties do not argue that material facts are in dispute.           Rather,

 the issue here is a matter of contract interpretation; thus, it

 will be decided as a matter of law.         See Homeland Training Ctr.,

 LLC v. Summit Point Auto. Research Ctr., 594 F.3d 285, 290 (4th

 Cir. 2010).     Because the parties filed cross-motions for summary

 judgment, “we consider each motion separately on its own merits to

 determine whether either of the parties deserves judgment as a

 matter of law.”      Defenders of Wildlife v. N.C. Dep’t of Transp.,

 762 F.3d 374, 392 (4th Cir. 2014) (quoting Bacon v. City of

 Richmond, 475 F.3d 633, 638 (4th Cir. 2007)).

                                     III.

                                      A.

       As an initial matter, we must consider what law governs the

 interpretation of the Offer Letter and Foreign Travel Letter signed

 by each employee.       As to Rishell, who originally filed suit in

 federal court in Florida, the district court applied Florida’s

 choice-of-law rules and determined that Florida law governs.            CSC

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 does not dispute this determination on appeal.           As to the Rhodes

 Appellees,    who   originally    filed    suit   in   federal    court   in

 Mississippi, the district court applied Mississippi’s choice-of-

 law rules and determined that Virginia law governs. CSC challenges

 this determination, arguing that Kuwaiti law should govern instead

 because the employees were stationed in Kuwait for the majority of

 their time overseas.      We disagree.

       In choice-of-law determinations, Mississippi relies on the

 “center of gravity” doctrine, which requires courts to consider

 (1) “the place of contracting;” (2) “the place of negotiation of

 the contract;” (3) “the place of performance;” (4) “the location

 of the subject matter of the contract;” and (5) “the domicile,

 residence,    nationality,    place   of   incorporation    and   place   of

 business of the parties.”      Zurich Am. Ins. Co. v. Goodwin, 920 So.

 2d 427, 433, 435 (Miss. 2006) (quoting Restatement (Second) of

 Conflict of Laws § 188 (Am. Law Inst. 1971)).              Balancing these

 factors, we agree with the district court that as it relates to

 the Rhodes Appellees, Virginia is the center of gravity.              While

 Kuwait is the employees’ place of performance and the location of

 the subject matter of the contracts, the remaining factors tip in

 favor of Virginia.        Virginia is where CSC’s headquarters are

 located, where the employees mailed their signed contracts, where

 the decisions were made to hire the employees, and where CSC

 performed its obligations under the contracts.           Also, while none

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 of the employees are residents or domiciliaries of Virginia,

 neither party argues that they are residents or domiciliaries of

 Kuwait. However, the employees all are residents and domiciliaries

 of the United States.           Ultimately, the center-of-gravity doctrine

 directs courts to apply “the law of the place which has the most

 significant relationship to the event and parties or which, because

 of the relationship or contact with the event and parties, has the

 greatest concern with the specific issues with respect to the

 liabilities and rights of the parties to the litigation.”            Id. at

 433 (quoting Mitchell v. Craft, 211 So. 2d 509, 514–15 (Miss.

 1968)). That place, as the district court determined, is Virginia.

        We will therefore apply Florida law to Rishell’s Offer Letter

 and Foreign Travel Letter and Virginia law to the Rhodes Appellees’

 Offer Letters and Foreign Travel Letters.

                                          B.

        We next address the central dispute of the parties:          whether

 each employee’s Offer Letter and Foreign Travel Letter, construed

 as single contracts, provide for hourly wages or fixed salaries

 when       an   employee   is    overseas. 2   Our   primary   objective   in


        2
       When two documents are executed by the same parties, at the
 same time, as part of the same transaction, as in this case, the
 documents are generally construed together as a single contract.
 See Wilson v. Terwillinger, 140 So. 3d 1122, 1124 (Fla. Dist. Ct.
 App. 2014); Parr v. Alderwoods Grp., Inc., 604 S.E.2d 431, 434–35
 (Va. 2004) (stating that two such documents must receive the same
 construction). The various provisions are then harmonized, giving


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 interpreting a contract is to determine and give effect to the

 parties’ intent.      Sanislo v. Give Kids the World, Inc., 157 So. 3d

 256, 270 (Fla. 2015); Pocahontas Mining Ltd. Liab. Co. v. CNX Gas

 Co., 666 S.E.2d 527, 531 (Va. 2008).              To determine the parties’

 intent,      we   begin   with   the   language      of   the   contract.        See

 Hahamovitch v. Hahamovitch, 174 So. 3d 983, 986 (Fla. 2015);

 Pocahontas, 666 S.E.2d at 531.          When the language of a contract is

 clear and unambiguous, we enforce the contract as it is written.

 Hahamovitch, 174 So. 3d at 986; TravCo Ins. Co. v. Ward, 736 S.E.2d

 321,   325    (Va.   2012).      A   contract   is    ambiguous    when     it   can

 reasonably be interpreted in more than one way.                   CitiMortgage,

 Inc. v. Turner, 172 So. 3d 502, 504 (Fla. Dist. Ct. App. 2015);

 Robinson-Huntley v. George Washington Carver Mut. Homes Ass’n,

 Inc., 756 S.E.2d 415, 418 (Va. 2014).           “However, a contract is not

 ambiguous merely because the parties disagree as to the meaning of

 the terms used.”          Robinson-Huntley, 756 S.E.2d at 418 (quoting

 Eure v. Norfolk Shipbuilding & Drydock Corp., 561 S.E.2d 663, 668

 (Va. 2002)); accord Minassian v. Rachins, 152 So. 3d 719, 725 (Fla.

 Dist. Ct. App. 2014).

        Here, the parties agree that the Offer Letter unambiguously

 provides for hourly wages; however, their dispute centers around




 effect to each when reasonably possible. See City of Homestead v.
 Johnson, 760 So. 2d 80, 84 (Fla. 2000); Schuiling v. Harris, 747
 S.E.2d 833, 836 (Va. 2013).
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 the meaning of “base weekly salary,” as it appears in the Foreign

 Travel Letter provision discussing “base pay.”              The provision

 states that an employee’s “base weekly salary will not change as

 the result of [an overseas] assignment.”        J.A. 105, 848, 870, 882,

 906, 920.    Rishell and the Rhodes Appellees interpret “base weekly

 salary” simply as an hourly rate stated in weekly terms, with no

 effect on an employee’s base pay.        They argue that under the terms

 of the Offer Letter and Foreign Travel Letter, employees working

 overseas are entitled to the same hourly wages they would receive

 while working in the United States.       CSC, on the other hand, argues

 that the Foreign Travel Letter controls the compensation terms of

 an employee’s overseas assignment, and thus base weekly salary

 trumps hourly wages as required under the Offer Letter.           CSC thus

 interprets the Offer Letter and Foreign Travel Letter to provide

 for a fixed salary when an employee is overseas, paid without

 regard to whether the employee works under or over 40 hours per

 week. 3

       Having    considered    the   plain    meaning   of   the   parties’

 contracts, we conclude that each employee’s Offer Letter and




       3CSC argues that the pay differential outlined in the Foreign
 Travel Letter is specifically intended to make up for an employee’s
 hours over 40. This intended purpose, however, appears nowhere in
 either letter. Also of significance is the fact that whether an
 employee is entitled to the pay differential is not guaranteed.
 Rather, it is in the discretion of the employee’s manager.

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  Foreign Travel Letter, read together, unambiguously provide for

  hourly wages for every hour worked, rather than fixed salaries,

  when the employee is working overseas.          Though the Foreign Travel

  Letter does not define the term “base weekly salary,” the letter

  states unequivocally that when an employee is on an overseas

  assignment, his “base weekly salary will not change as a result of

  this assignment.”       J.A. 105, 848, 870, 882, 906, 920.            This

  statement appears as a clarification of “base pay,” and makes clear

  that the intent of the parties is that an employee working overseas

  would be entitled to the same base pay that an employee would

  receive when not working overseas.        Id.   Since the Foreign Travel

  Letter is otherwise silent on the meaning of “base weekly salary,”

  we must look to the Offer Letter to determine the base pay an

  employee would receive when working in the United States.               The

  Offer Letter expresses an employee’s base pay in terms of an

  “hourly rate.” 4    J.A. 246, 844, 866, 878, 902, 916.         The hourly

  rate therefore represents the base pay that “will not change” when

  an employee is overseas, regardless of whether it is stated in




        4Rishell’s Offer Letter includes both an hourly rate and an
  annual sum, which is his hourly rate multiplied by 40 hours per
  week and by 52 weeks per year. However, nothing suggests that the
  annual sum takes precedence over the hourly rate or that Rishell’s
  pay will be capped at the annual sum.      Rather, the annual sum
  appears in parentheses following the hourly rate, suggesting it is
  supplementary or illustrative information. See Rawls v. Rideout,
  328 S.E.2d 783, 786 (N.C. Ct. App. 1985).

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  hourly or weekly terms.       Merely invoking the term “salary” does

  not   transform   hourly    pay   into    fixed   pay,   particularly   when

  accompanied by a statement that an employee’s base pay “will not

  change.”

        CSC’s arguments to the contrary are not persuasive.          Neither

  letter provides that the Foreign Travel Letter supersedes the Offer

  Letter when an employee is overseas; nor does either letter specify

  that an employee’s weekly pay is capped at 40 hours per week,

  regardless of the number of hours worked. 5               To accept CSC’s

  interpretation of the letters would be to rewrite their terms,

  which we cannot do.        See Corwin v. Cristal Mizner’s Pres. Ltd.

  P’ship, 812 So. 2d 534, 536 (Fla. Dist. Ct. App. 2002) (“[I]t is

  axiomatic that the courts may not rewrite or add to the terms of

  a written agreement.”); TM Delmarva Power, L.L.C. v. NCP of Va.,

  L.L.C., 557 S.E.2d 199, 200 (Va. 2002) (“Contracts are construed

  as written, without adding terms that were not included by the

  parties.”).




        5CSC also argues that employees received over $37 per hour
  while overseas, which includes discretionary uplifts such as pay
  differentials and hardship pay. After-the-fact rationalizations,
  however, do not alter the meaning of the contract.      By capping
  base pay at 40 hours per week, when employees regularly worked 84-
  hour weeks, CSC effectively reduced employees’ hourly wages from
  $31 or $32 to around $15.       Neither letter contains language
  demonstrating that this was the intent of the parties. Nor do the
  letters place the employees on notice of this base pay reduction.

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        Construing the contracts as written, we hold that Rishell and

  the Rhodes Appellees are entitled to the same base pay overseas as

  they would have received if working in the United States—hourly

  wages for every hour worked.

                                      IV.

        For the reasons outlined, we affirm the district court’s grant

  of summary judgment in favor of Rishell and each of the Rhodes

  Appellees, and we affirm its denial of CSC’s motions for summary

  judgment.

                                                                    AFFIRMED




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